
PER CURIAM.
We reverse and remand. The trial court erred in dismissing the complaint with prejudice as the allegations and attached documents, taken together, were sufficient to state a cause of action. See Hinote v. Brigman, 44 Fla. 589, 33 So. 303 (1902); Delta Electrical Contractors, Inc. v. McDevitt &amp; Street Company, 262 So.2d 226 (Fla. 2d DCA 1972); and Edward L. Nezelek, Inc. v. Southern Bell Telephone and Telegraph Co., 383 So.2d 979 (Fla. 4th DCA 1980).
DOWNEY, LETTS and GLICKSTEIN, JJ., concur.
